              Case 17-16978                 Doc      Filed 08/11/20            Entered 08/11/20 15:45:07                   Desc Main
 Fill in this information to identify the case:          Document              Page 1 of 6
 Debtor 1          Herbert  Obah
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Northern District     of __________
                                                           of Illinois
                                                      District

 Case number           1:17-bk-16978
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association,
                    as Trustee of the Igloo Series IV Trust
 Name of creditor: _______________________________________                                                       5
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          2 ____
                                                        ____ 5 ____
                                                                 8 ____
                                                                     6               Must be at least 21 days after date       09/01/2020
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                756.55
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                       0.00
                   Current escrow payment: $ _______________                       New escrow payment:                   119.44
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Herbert    Obah
                 _______________________________________________________                       Case number         1:17-bk-16978
                                                                                                             (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û /s/ Michelle R. Ghidotti-Gonsalves, Esq.
     _____________________________________________________________
     Signature
                                                                                               Date    08/07/2020
                                                                                                       ___________________




 Print:             Michelle  R. Ghidotti-Gonsalves
                    _________________________________________________________                  Title
                                                                                                       Authorized   Agent for Secured Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      949-427-2010
                    ________________________                                                           bknotifications@ghidottigberger.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                             page 2
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                               CERTIFICATE OF SERVICE
          On August 10, 2020, I served the foregoing document described as Notice of
   Mortgage Payment Change upon the following individuals by electronic means through
   the Court’s ECF program:


   COUNSEL(S) FOR DEBTOR(S)

   Brian P. Deshur              brian@freydinlaw.com
   David Freydin                david.freydin@freydinlaw.com
   Kristen Griffin              kristen@freydinlaw.com

   TRUSTEE(S)

   Marilyn O Marshall           courtdocs@chi13.com
   Patrick S Layng              USTPRegion11.ES.ECF@usdoj.gov

           I declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct.
                                                      /s/ Ricardo Becker
                                                          Ricardo Becker

           On August 10, 2020, I served the foregoing documents described as Notice of
   Mortgage Payment Change upon the following individuals by depositing true copies
   thereof in the United States mail at Santa Ana, California enclosed in a sealed envelope,
   with postage paid, addressed as follows:


    Debtor
    Herbert Obah
    4313 W. Kamerling Street, Apt. 1
    Chicago, IL 60651

           I declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct.
                                                      /s/ Ricardo Becker
                                                          Ricardo Becker
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                                                          SN Servicing Corporation          Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: August 10, 2020

     HERBERT OBAH                                                                                              Loan:
     4313 W KAMERLING ST                                                                     Property Address:
     CHICAGO IL 60651                                                                        4313 WEST KAMERLING STREET
                                                                                             CHICAGO, IL 60651



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from June 2020 to Sept 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Oct 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                  637.11                 637.11                   Due Date:                                       Aug 01, 2020
 Escrow Payment:                              0.00                 119.44                   Escrow Balance:                                     (391.55)
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                             0.00
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                    148.82
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                         ($540.37)
 Total Payment:                              $637.11                    $756.55



                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                              Starting Balance                       0.00           0.00
     Jun 2020                                                        240.63 * Forced Place Insur                     0.00        (240.63)
     Jul 2020                                                         76.51 * Forced Place Insur                     0.00        (317.14)
     Aug 2020                                                         74.41 * Forced Place Insur                     0.00        (391.55)
                                                                              Anticipated Transactions               0.00        (391.55)
     Aug 2020                                                         74.41 Forced Place Insur                                   (465.96)
     Sep 2020                                                         74.41 Forced Place Insur                                   (540.37)
                          $0.00         $0.00           $0.00       $540.37

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
     Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
     silent on this issue.




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                                                    For Inquiries: (800) 603-0836
                                                                                 6
                                        Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: August 10, 2020

 HERBERT OBAH                                                                                                    Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                              (540.37)           0.00
Oct 2020                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Nov 2020                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Dec 2020                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Jan 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Feb 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Mar 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Apr 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
May 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Jun 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Jul 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Aug 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
Sep 2021                74.41           74.41            Forced Place Insur                            (540.37)           0.00
                      $892.92         $892.92

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
 Your escrow balance contains a cushion of 0.00. A cushion is an additional amount of funds held in your escrow
 balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
 Federal law, your lowest monthly balance should not exceed 148.82 or 1/6 of the anticipated payment from the account,
 unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
 this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is (540.37). Your starting
balance (escrow balance required) according to this analysis should be $0.00. This means you have a shortage of 540.37.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12
months.

We anticipate the total of your coming year bills to be 892.92. We divide that amount by the number of payments expected during
the coming year to obtain your escrow payment.




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             Case 17-16978           Doc      Filed 08/11/20Paying
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                                                                   the shortage: If your shortage is paid in full, your new
    New Escrow Payment Calculation                Document monthly
                                                                Page    6 of 6 be $711.52 (calculated by subtracting the
                                                                    payment will
    Unadjusted Escrow Payment                       74.41
                                                                 Shortage Amount to the left and rounding, if applicable). Paying the
    Surplus Amount:                                  0.00
                                                                 shortage does not guarantee that your payment will remain the same, as
    Shortage Amount:                                45.03
                                                                 your tax or insurance bills may have changed. If you would like to pay
    Rounding Adjustment Amount:                      0.00
                                                                 the shortage now, please pay the entire amount of the shortage before
    Escrow Payment:                               $119.44
                                                                 the effective date of your new payment. To ensure that the funds are
                                                                 posted to your account correctly, please notify your asset manager that
                                                                 you are paying the shortage.

   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




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